       Entered on Docket April 21, 2020                    Below is the Order of the Court.




                                                           _________________________
1                                                          Timothy W. Dore
                                                           U.S. Bankruptcy Court
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                                                           (Dated as of Entered on Docket date above)
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8                                 UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON
9

10    In Re:                                    )               Case No. 19-13634
                                                )
11    Adeil M Abdelrahman,                      )
                                                )
12                                  Debtor,     )
      _________________________________________ )
13                                              )
      United States Trustee,                    )
14                                              )               Adversary No. 20-01022
                                   Plaintiff,   )
15                                              )
              v.                                )               ORDER OF DEFAULT
16                                              )
      Adeil M Abdelrahman,                      )
17                                              )
                                   Defendant.   )
18                                              )
19
               This matter came before the Court upon plaintiff United States Trustee’s Ex Parte Motion
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     for Entry of Default and Default Judgment (the “Motion”). This Court has reviewed and
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     considered the Motion, any and all evidence submitted in support of the Motion, and the records
22
     and files herein. Based upon the foregoing, the Court finds that (1) defendant Adeil M.
23   Abdelrahman (the “Defendant”) was properly served in this matter; (2) notice of the Motion was
24   adequate under the circumstances, and (3) Defendant has failed to timely appear or otherwise
25   defend in this action and that entry of default is therefore proper pursuant to Fed. R. Bankr. P.
26   7055(a) and (b)(2).

                                                                           Office of the United States Trustee
                                                                               700 Stewart Street, Suite 5103
      ORDER OF DEFAULT - 1                                                          Seattle, WA 98101-1271
                                                                           206-553-2000, 206-553-2566 (fax)

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1           Based upon the foregoing, and good cause appearing,

2           IT IS HEREBY ORDERED THAT:

3           A.       The Motion is granted; and
            B.       A default is hereby entered against the Defendant.
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                                          /// END OF ORDER ///
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8    Presented by:
9
     Gregory M. Garvin
10   Acting United States Trustee for Region 18

11
     ___/s/ Martin L. Smith________
12   Martin L. Smith, WSBA #24861
     Attorney for the United States Trustee
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                                                                          Office of the United States Trustee
                                                                              700 Stewart Street, Suite 5103
      ORDER OF DEFAULT - 2                                                         Seattle, WA 98101-1271
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